                                                                         Case 3:14-cv-00348-BAS-BLM Document 43 Filed 10/10/14 PageID.1196 Page 1 of 5



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                                                                       11                        UNITED STATES DISTRICT COURT
                                                                                               SOUTHERN DISTRICT OF CALIFORNIA
                                        Costa	  Mesa,	  California




                                                                       12
                                                                       13     JORDAN MARKS,                       Case No: 14-cv-00348-BAS-BLM
                                                                              INDIVIDUALLY AND ON
                                                                       14     BEHALF OF ALL OTHERS
                                                                              SIMILARLY SITUATED,                 PLAINTIFF JORDAN MARKS’
                                                                       15
                                                                                                                  EX PARTE APPLICATION TO
                                                                                             Plaintiff,
                                                                       16                                         SEAL DOCUMENTS FILED IN
                                                                                                      v.          CONNECTION WITH
                                                                       17
                                                                                                                  OPPOSITION TO
                                                                       18     CRUNCH SAN DIEGO, LLC,              DEFENDANT’S MOTION TO
                                                                                                                  EXCLUDE OPINIONS AND
                                                                       19                    Defendant.
                                                                                                                  TESTIMONY OF JEFFREY
                                                                       20                                         HANSEN
                                                                       21
                                                                                                                  Date: October 27, 2014
                                                                       22                                         Judge: Hon. Cynthia Bashant
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                                                                            PLAINTIFFS’ REQUEST TO SEAL
                                                                            CASE NO.: 14-CV—00348-BAS-BLM
                                                                         Case 3:14-cv-00348-BAS-BLM Document 43 Filed 10/10/14 PageID.1197 Page 2 of 5



                                                                        1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                        2 PLEASE TAKE NOTICE that, pursuant to Chamber Rule 5 and Civil Local Rule
                                                                        3 79.2, Plaintiff Jordon Marks (“Plaintiff”) hereby moves ex parte for an order
                                                                        4 permitting Plaintiff to file under seal a confidential Expert Report prepared by
                                                                        5 Jeffrey A. Hansen (“Mr. Hansen”) in the matter of Mashiri v. Ocwen Loan
                                                                        6 Servicing, LLC, and to file a redacted version of the Declaration of Jeffrey A.
                                                                        7 Hansen and the Memorandum of Points and Authorities in opposition to defendant
                                                                        8 Crunch San Diego, LLC’s (“Defendants”) motion to exclude expert opinion and
                                                                        9 testimony of Mr. Hansen. Defendant had indicated that it will oppose the request to
Kazerouni	  Law	  Group,	  APC	  




                                                                       10 file under seal the Expert Report in the Mashiri case.
                                                                       11                                   BACKGROUND
                                        Costa	  Mesa,	  California




                                                                       12          As part of discovery, Plaintiff’s technology expert, Mr. Hansen, was ordered
                                                                       13 by Judge Major to produce (pursuant to the protective order in this case, see Dkt.
                                                                       14 No. 21) certain expert reports and declarations to Defendant, including an Expert
                                                                       15 Report in the matter of Mashiri v. Ocwen Loan Servicing, LLC, No. 12-cv-02838
                                                                       16 (S.D. Cal.). Dkt. No. 35. Mr. Hansen produced the Expert Report in the Mashiri
                                                                       17 case to Defendant in compliance with that order. See Declaration of Abbas
                                                                       18 Kazerounian (“Kazerounian Decl.”), ¶ 6, filed concurrently. The Expert Report for
                                                                       19 the Mashiri case is also believed to be subject to protective order in that case (Dkt.
                                                                       20 No. 47 in that matter). See Exhibit 1 to Kazerounian Decl. (stipulated protective
                                                                       21 order in the Mashiri case).
                                                                       22          On September 19, 2014, Defendant filed a motion to exclude the opinions
                                                                       23 and testimony of Jeffrey A. Hansen (Dkt. No. 37). In response to that motion,
                                                                       24 Plaintiff seeks to introduce a declaration from Mr. Hansen signed on October 9,
                                                                       25 2014, which declaration contains, in minor part, confidential or proprietary
                                                                       26 information about automated dialers used by companies in others cases for which
                                                                       27 Mr. Hansen has served as a consultant or prepare an expert report or declaration.
                                                                       28 Plaintiff’s brief in opposition to the motion to exclude Mr. Hansen’s opinions and
                                                                            PLAINTIFFS’ REQUEST TO SEAL
                                                                            CASE NO.: 14-CV-00348-BAS-BLM            1
                                                                         Case 3:14-cv-00348-BAS-BLM Document 43 Filed 10/10/14 PageID.1198 Page 3 of 5



                                                                        1 testimony refers to and even quotes portions of such highly confidential or
                                                                        2 proprietary information in the Expert Report for the Mashiri case and Mr.
                                                                        3 Hansen’s declaration.
                                                                        4          Through this application for a sealing order, Plaintiff seeks to have this
                                                                        5 highly confidential or proprietary information sealed and, in some instances merely
                                                                        6 redacted, from the public versions of documents filed in support of the Plaintiff’s
                                                                        7 brief in opposition to Defendant’s motion to exclude the opinions and testimony of
                                                                        8 Mr. Hansen.
                                                                        9                                     ARGUMENT
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                                                                       10          While the public generally enjoys the right of access to court records, the
                                                                       11 public’s right to access court records “is not absolute,” and documents are properly
                                        Costa	  Mesa,	  California




                                                                       12 filed under seal where disclosure would harm a party by forcing it to disclose trade
                                                                       13 secrets or other valuable confidential proprietary business information. See, e.g.,
                                                                       14 Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978); In re Elec. Arts, Inc.,
                                                                       15 298 Fed. App’x 568, 569-70 (9th Cir. 2008). Courts must ensure that their records
                                                                       16 are not used “as sources of business information that might harm a litigant’s
                                                                       17 competitive standing.” Nixon, 435 U.S. at 598. See also Bauer Bros. LLC v. Nike,
                                                                       18 Inc., No. 09-cv-500-WQH-BGS, 2012 WL1899838, at *3-4 (S.D. Cal. May 24,
                                                                       19 2012) (granting motion to seal non-public financial data); Davis v. Soc. Serv.
                                                                       20 Coordinators, Inc., No. 1:10-cv-023 72-LJO-SKO, 2012 WL 1940677, at *3 (E.D.
                                                                       21 Cal. May 29, 2012) (noting that “[g]ood cause to seal is generally found where the
                                                                       22 disclosure of proprietary information could cause a party competitive injury”).
                                                                       23          When a party seeks to file documents under seal in connection with a
                                                                       24 dispositive motion, it must present a compelling reason to do so. Kamakana v. City
                                                                       25 & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). However, when the
                                                                       26 motion is not dispositive, a party need only show good cause. Id. at 1180. Here,
                                                                       27 the motion at issue is Defendant’s motion to exclude the opinions and testimony of
                                                                       28 Mr. Hansen, not the motion for summary judgment, which Plaintiff believes means
                                                                            PLAINTIFFS’ REQUEST TO SEAL
                                                                            CASE NO.: 14-CV-00348-BAS-BLM           2
                                                                         Case 3:14-cv-00348-BAS-BLM Document 43 Filed 10/10/14 PageID.1199 Page 4 of 5



                                                                        1 that the motion is not dispositive (as the case could theoretically continue should
                                                                        2 Mr. Hansen’s expert testimony be exclude). Therefore, the good cause standard
                                                                        3 should apply.
                                                                        4          Plaintiff submits there is good cause to permit the filing of the Expert Report
                                                                        5 in the Mashiri case under seal, as it is covered by the protective order in this case
                                                                        6 (see Dkt. Nos. 21 and 35) and appears to be covered by the protective order in the
                                                                        7 Mashiri case as well. Plaintiff also believes there is good cause to file redacted
                                                                        8 versions of documents (rather than filing them entirely under seal) referring and
                                                                        9 even quoting highly confidential or proprietary business information in the Expert
Kazerouni	  Law	  Group,	  APC	  




                                                                       10 Report and the declaration of Mr. Hansen to be submitted in opposition to the
                                                                       11 motion to exclude testimony of Mr. Hansen.
                                        Costa	  Mesa,	  California




                                                                       12          Specifically, the Expert Report in Mashiri, at p. 5, ¶ 11, contains Mr.
                                                                       13 Hansen’s expert opinions and testimony regarding the dialing equipment used by
                                                                       14 the defendant in that case, which confidential information is not public knowledge
                                                                       15 (and is subject to protective order). Also, the Plaintiff’s Memorandum of Points
                                                                       16 and Authorities in opposition to the motion to exclude Mr. Hansen’s expert
                                                                       17 testimony quotes a portion of the Expert Report in Mashiri, and refers to
                                                                       18 confidential or proprietary information about the dialers in other cases as stated in
                                                                       19 Mr. Hansen’s declaration at ¶ 14, line 10.
                                                                       20          Therefore, Plaintiff submits there is good cause to file under seal the Expert
                                                                       21 Report in the Mashiri case, and to file redacted versions of the declaration of Mr.
                                                                       22 Hansen and the Plaintiff’s Memorandum of Points and Authorities in opposition to
                                                                       23 the motion to exclude Mr. Hansen’s expert testimony. See Kazerounian Decl., ¶ 5.
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                                                                            PLAINTIFFS’ REQUEST TO SEAL
                                                                            CASE NO.: 14-CV-00348-BAS-BLM             3
                                                                        Case 3:14-cv-00348-BAS-BLM Document 43 Filed 10/10/14 PageID.1200 Page 5 of 5



                                                                        1                                     CONCLUSION
                                                                        2          In conclusion, Plaintiff respectfully requests that the Court grant Plaintiff’s
                                                                        3 ex parte application for a sealing order.
                                                                        4
                                                                        5                                          Respectfully submitted,

                                                                        6                                          KAZEROUNI LAW GROUP, APC
                                                                            Date: October 10, 2014                 By:/s/ Abbas Kazerounian
                                                                        7
                                                                                                                      Abbas Kazerounian
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                                                                            PLAINTIFFS’ REQUEST TO SEAL
                                                                            CASE NO.: 14-CV-00348-BAS-BLM             4
